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ORIGINAL

UNITED STATES DISTRICT COURT Leb)
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA, |

Plaintiff, CASE NO.

-VS-
HON, PATRICK J. DUGGAN
SANDRA MARIE ANDERSON,

| JUDGE : Duggan, Patrick J.
Defendant, . DECK : Miscellaneous Deck
DATE : 06/17/2005 @ 12:22:01
CASE NUMBER : 2:05CV72400
GARN USA VS SAANDRA MARIE
ANDERSON ET AL (LE)

and.

WILLIAM ANDERSON, MICHAEL BEALE,
HANDLON, EASTMAN, DEWITT & BEALE, PC.,
JOHN CARRAS and CARRAS LAW OFFICE, PLLC,

Garnishees./

APPLICATION FOR WRIT OF CONTINUING GARNISHMENT

The United States of America, plaintiff, makes application in accordance with 28 U.S.C.
§3205(b)(1) to the Clerk of the United States District Court to issue a Writ of Garnishment upon
the judgment entered against the defendant, SANDRA MARIE ANDERSON, Social Sccurity
No, XXX-XX-1314, whose last known address is: C/o John Carras, Esq. Carras Law Office,
PLLC, 1605 Ashman Street, Midland, MI 48640, in Case No. 03CR80802 in the amount of
$15,082.64, plus additional costs of $0.00 and post-judgment interest at the rate of 2.24%,
compounded annually. The sum of $600.00 has been credited to the judgment debt, leaving a
total balance duc of $14,482.64 as of June 17, 2005, Demand for payment of the above-stated

debt was made upon the debtor not less than 30 days from June 17, 2005, and debtor has failed to

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interest of the debtor.

Midland, MI 48640

Midland, MI 48640

Dated: (| [7 | OS

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satisfy the debt. The Garnishec is believed to owe or will owe moncy or property to the

judgment debtor, or is in possession of property of the debtor, and said property is a nonexempt

The name and address of the Garnishcee or his authorized agent is:

WILLIAM ANDERSON, c/o Michael Beale, Esq., 240 W. Main Street, Suite 1100,
Courthouse Square, Midland, MI 48640

MICHAEL BEALE, Esq., 240 W. Main Street, Suite 1100, Courthouse Square,
HANDLON, EASTMAN, DEWITT & BEALE, PC ., 240 W. Main Street, Suite 1100,
Courthouse Square, Midland, MI 48640

JOHN CARRAS, Esq. and CARRAS LAW OFFICE, PLLC, 1605 Ashman Street,

Respectfully submitted,

STEPHEN J. MURPHY
United States Attorney

CE
ACQUELINE M. HOTZ

ssistant U.S. Attorney

11 W. Fort St., Ste. 2001
Detroit, Michigan 48226
Phone: (313) 226-9108

E-mail: Jackie. Hotz@usdoj.gov
Bar Number: P35219

   

 
   
 

 

 

 

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ORIGINAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff, CASE NO. ee
vs HON. PATRICK J. DUGGAN

SANDRA MARIE ANDERSON,

GE : Duggan, Patrick J.
Defendant, . DECK : Miscellaneous Deck
DATE =: 06/17/2005 @ 12:22:01
CASE NUMBER : 2:05¢V72400
GARN USA VS SAANDRA MARIE
ANDERSON ET AL {LE}

and

WILLIAM ANDERSON, MICHAEL BEALE,
HANDLON, EASTMAN, DEWITT & BEALE, PC.,
JOHN CARRAS and CARRAS LAW OFFICE, PLLC,

Garnishees,
/

CLERK'S NOTICE OF GARNISHMENT

You are hereby notified that a garnishment is being taken by the United States of America
which has a judgment in Case No. 03CR80802 in the United States District Court for the Eastern
District of Michigan, Southern Division in the sum of $15,082.64, A balance of $14,482.64
remains outstanding.

In addition, you are hereby notified that there are exemptions under the law which may
protect some of the property from being taken by the Government if SANDRA MARIE
ANDERSON can show that the exemptions apply.

The exemptions that apply arc those identified in Section 3613 of Title 18. You have a
right to ask the Court to apply any exemption to which you feel you are entitled. You have a

right to ask the court to return your property to you if you think you do not owe the moncy to the

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Government that it claims you do, or if you think the property the Government is taking qualifies
under one of the above exemptions.

If you want a hearing, you must notify the court within 20 days after receipt of the
notice. Your request must be in writing. If you wish, you may use the request for heating
included in this package. You must cither mail it or deliver it in person to the Clerk of the
United States District Court at Theodore Levin Courthouse, 231 W. Lafayette, 5th Floor, Detroit,
Michigan 48226. You must also send a copy of your request to the United States Attorney,
Financial Litigation Unit at 211 W. Fort St, Suite 2001, Detroit, Michigan 48226 notifying the
Government that you want a hearing.

The hearing will take place within 5 days after the Clerk receives your request, if you ask
for it to take place that quickly, or as soon after that as possible.

At the hearing you must be prepared to explain to the judge why you think the
Government is not entitled to the funds garnished.

You will receive a copy of the answer, as prepared by the Garnishee. If you do not agree
with the information as set forth by the garnishee you may request a hearing. If you want
a hearing, you must notify the court within 20 days after receipt of the answer. Your
request must be in writing.

If you wish, you may use the request for hearing included in this package. You must
cither mail it or deliver it in person to the Clerk of the United States District Court at Theodore
Levin Courthouse, 231 W. Lafayette, Sth Floor, Detroit, Michigan 48226. You must also send a
copy of your request to the Garnishee and the United States Attorney, Financial Litigation Unit at

211 W. Fort St., Suite 2001, Detroit, Michigan 48226 notifying the Government that you want a

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hearing.

The hearing will take place within 5 days after the Clerk receives your request, if you ask
for it to take place that quickly, or as soon after that as possible, At the hearing you may explain
to the judge why you object to the information contained in the answer.

If you think you live outside the Federal judicial district in which the court is
located, you may request, not later than 20 days after you receive this notice, that this
proceeding be transferred by the court to the Federal judicial district in which you reside.
You must make your request in writing, and cither mail it or deliver it in person to the Clerk of
the Court at Theodore Levin Courthouse, 231 W. Lafayette, 5th Floor, Detroit, Michigan 48226.
You must also send a copy of your request to the Government at United States Attorney's Office,
Financial Litigation Unit, 211 W. Fort Street, Suite 2001, Detroit, Michigan 48226,

Be sure to keep a copy of this notice for your own records. If you have any questions
about your rights or about this procedure, you should contact a lawyer or an office of public legal
assistance. The Clerk or the Court is not permitted to give legal advice, but can refer you to other
sources of information.

DAVID WEAVER

CLERK, UNITED STATES DISTRICT COURT
EASTERN DISTRI T OF MICHIGAN

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Dated: (yp -| *) Os: By: / JA

  

 

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
Case No.
v .
HON. PATRICK J. DUGGAN
SANDRA MARIE ANDERSON,
Defendant,

and

WILLIAM ANDERSON, MICHAEL BEALE,
HANDLON, EASTMAN, DEWITT & BEALE, PC.,
JOHN CARRAS and CARRAS LAW OFFICE, PLLC,

Garnishecs./
DEFENDANT’S REQUEST FOR HEARING
ABOUT THE GARNISHMENT AND CLAIM FOR EXEMPTIONS

I request a hearing about the garnishment for the following reasons:

 

 

 

 

My claim for exemption(s) is attached.

Dated: Signature:
Name
Address
Phone No.

 

**IF YOU WANT A HEARING YOU MUST NOTIFY THE COURT AND THE UNITED
STATES WITHIN TWENTY DAYS OF RECEIVING THE NOTICE OF GARNISHMENT.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
Case No.
Vv
HON. PATRICK J. DUGGAN
SANDRA MARIE ANDERSON,
Defendant,
and

‘

WILLIAM ANDERSON, MICHAEL BEALE,
HANDLON, EASTMAN, DEWITT & BEALE, PC.,,
JOHN CARRAS and CARRAS LAW OFFICE, PLLC,

Garnishee,/

DEFENDANT’S REQUEST FOR HEARING
ABOUT THE ANSWER FILED BY THE GARNISHEE

 

request a hearing about the answer that was filed by the Garnishec for the following reasons:

 

 

 

Dated: Signature:

 

Name
Address
Phone No.

**TF YOU WANT A HEARING YOU MUST NOTIFY THE COURT, THE UNITED STATES
AND THE GARNISHEE WITHIN TWENTY DAYS OF RECEIVING THE ANSWER OF

GARNISHEE.

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CLAIM FOR EXEMPTION FORM
EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C.§ 3613)

INSTRUCTION: Some or all of your property may be exempt from garnishment.
Please review the exemptions below. Mark thosc paragraphs that
you believe set forth why your property is protected from being
taken by the government to pay your debt.

I believe that my property can not be garnished because it is one or more of the
following:

1. Wearing apparel and school books.---Such items of wearing apparel and such
school books as are necessary for the debtor or for members of his family.

2. Fuel, provisions, furniture, and personal effects.---So much of the fuel,
provisions, furniture, and personal effects in the Debtor’s household, and of the
arms or personal use, livestock, and poultry of the debtor, as does not exceed
$6,250 in value.

3. Books and tools of a trade, business, or profession.--So many of the books,
and tools necessary for the trade, business, or profession of the debtor as do not
exceed in the aggregate $3,125. in value.

4. Unemployment benefits.---Any amount payable to an individual with respect
to his unemployment (including any portion thereof payable with respect to
dependents) under an unemployment compensation law of the United States, of
any State, or of the District of Columbia or of the Commonwealth of Puerto Rico.

5, Undelivered mail.---Mail, addressed to any person, which has not been
delivered to the addressee.

6. Certain annuity and pension payments.---Annuity or pension payments under
the Railroad Retirement Act, benefits under the Railroad Unemployment
Insurance Act, special pension payments received by a person whose name has
been entered on the Army, Navy, Air Force, and Coast Guard Medal of Honor roll
(38 U.S.C. 1562), and annuities based on retired or retainer pay under Chapter 73
of Title 10 of United States Code,

7. Workmen’s Compensation.---Any amount payable with respect to
compensation (including any portion thercof payable with respect to dependants)
under a workmen’s compensation law of the United States, any State, the District
of Columbia, or the Commonwealth of Puerto Rico.

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8. Judgments for support of minor children.---If the debtor is required by
judgment of a court of competent jurisdiction, entered prior to the date of levy, to
contribute to the support of his minor children, so much of his salary, wages, or
other income as is necessary to comply with such judgment.

9, Certain servicc-connccted disability payments.---Any amount payable to an
individual as a service-connected (within the meaning of section 101(16) of Title
38, United States Code) disability benefit under --(A) subchapter IJ, II, IV, V, or
VI of Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32,34, 35, 37, or
39 of such Title 38.

10. Assistance under Job Training Partnership Act.--Any amount payable to a
participant under the Job Training Partnership Act (29 U.S.C. 1501 et seq.) from
funds appropriated pursuant to such Act.

11. Minimum exemptions for wages, salary and other income.---The exemptions
under 26 U.S.C. § 6334(a)(9) do not apply in criminal cases. The exceptions
under the Consumer Credit Protection Act, 15 U.S.C.§ 1673, for disposable
carnings, automatically apply and do not need to be claimed. The aggregate
disposable carning of an individual for any workweck which is subjected to
garnishment may not exceed (1) 25 % of his disposable carnings for that weck, or
(2) the amount by which his disposable carnings for that weck exceed thirty times
the Federal minimum hourly wage in effect at the time the earnings are payable,
whichever is less.

The statements made in this claim of exemptions as to exemption entitlement and

fair market value of the property designated are made and declared under penalty of perjury that
they are true and correct.

Date:

 

Signature of Defendant/Claimant

 

PRINTED NAME

ATTACH THIS FORM TO YOUR REQUEST FOR HEARING.

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ORIGINAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff, CASE NO.
-VSe
HON. PATRICK J. DUGGAN
SANDRA MARIE ANDERSON,
Defendant, JUDGE : Duggan, Patrick J.
DECK : Miscellaneous Deck
and DATE : 06/17/2005 @ 12:22:01
CASE NUMBER : 2:05CV72400
AANDRA MARIE
WILLIAM ANDERSON, MICHAEL BEALE, Esq., CARN SR ELE}
HANDLON, EASTMAN, DEWITT & BEALE, PC..,
JOHN CARRAS and CARRAS LAW OFFICE, PLLC, ULENK’S OFFICE, DETROIT.PSG

U.S. DISTRICT COURT

Garnishees./
WRIT OF CONTINUING GARNISHMENT

GREETINGS TO: WILLIAM ANDERSON, MICHAEL BEALE,

HANDLON, EASTMAN, DEWITT & BEALE, PC .,

JOHN CARRAS, and CARRAS LAW OFFICE, PLLC

An application for a Writ of Continuing Garnishment against the property of SANDRA

MARIE ANDERSON, whose Social Security No. is XXX-XX-1314 has been filed with this
Court. A judgment has been entered in Case No. 03CR80802 and there is presently owing the
amount of $14,482.64, including costs and interest, computed through June 17, 2005 from
defendant, SANDRA MARIE ANDERSON, C/o John Carras, Esq., Carras Law Office, PLLC,
1605 Ashman Street, Midland, MI 48640. The United States is represented by Jacqueline M.
Hotz, Assistant United States Attomcy, 211 W. Fort St., Suite 2001, Detroit, Michigan 48226.

You are required by law to answer in writing, under oath, within ten (10) days,

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whether or not you have in your custody, control or possession, any property owned by the
debtor, including non-exempt, disposable earnings.

You must file the original written answer to this writ within ten (10) days of your reccipt
of this writ with the United States District Court Clerk at: Theodore Levin Courthouse, 231
West Lafayette, 5th Floor, Detroit, Michigan 48226. Additionally, you are required by law to
serve a copy of your answer to this writ upon the debtor at: C/o John Carras, Esq. Carras Law
Office, PLLC, 1605 Ashman Street, Midland, MI 48640, and upon the United States Attorney,
211 W. Fort St., Suite 2001, Detroit, Michigan 48226. Filing and service may be accomplished
by using the United States mail.

Under the law, there may be property which is exempt from this writ of Garnishment.
All non-exempt property belonging to SANDRA MARIE ANDERSON including but not limited
to twenty-five percent (25%) of the non-exempt disposable carnings owed to SANDRA MARIE
ANDERSON, must be withheld from and retained by you pending further order of the Court.

Pursuant to 15 U.S.C. §1674, WILLIAM ANDERSON, MICHAEL BEALE,
HANDLON, EASTMAN, DEWITT & BEALE, PC ., JOHN CARRAS and CARRAS LAW
OFFICE, PLLC, is prohibited from discharging the defendant from employment by reason of the
fact that his/her earnings have been subject to garnishment for any one indebtedness.

If you fail to answer this writ or withhold property in accordance with this writ, the
United States of America may petition the Court for an order requiring you to appear before the
Court. If you fail to appear or do appear and fail to show good cause why you failed to comply
with this writ, the Court may enter a judgment against you for the value of the debtor's non-

excmpt property.

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It is unlawful to pay or deliver to the defendant any item attached by this writ.
Additionally, you may be held liable for a reasonable attorney's fee to the United States of
America. Questions are to be directed to the United States Attorney's Office, 211 W. Fort Street,

Suite 2001, Detroit, Michigan 48226.

DAVID WEAVER
UNITED STATES DISTRICT COURT CLERK
EASTERN DISTRICT_OF MICHIGAN

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Deput¥¢ Clerk —

 

By:

Dated: Xo-) 7 Os

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CLAIM FOR EXEMPTION FORM
EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C.§ 3613)

INSTRUCTION: Some or all of your property may be exempt from garnishment.
Please review the exemptions below. Mark those paragraphs that
you belicve set forth why your property is protected from being
taken by the government to pay your debt.

I believe that my property can not be garnished because it is one or more of the
following:

1. Wearing apparel and school books.---Such items of wearing apparel and such
school books as are necessary for the debtor or for members of his family.

2. Fuel, provisions, furniture, and personal effects.---So much of the fuel,
provisions, furniture, and personal effects in the Debtor’s household, and of the
arms or personal use, livestock, and poultry of the debtor, as does not exceed
$6,250 in value.

3. Books and tools of a trade, business, or profession.--So many of the books,
and tools necessary for the trade, business, or profession of the debtor as do not
excecd in the aggregate $3,125. in value.

4, Unemployment bencfits.---Any amount payable to an individual with respect
to his unemployment (including any portion thercof payable with respect to
dependents) under an unemployment compensation law of the United States, of
any State, or of the District of Columbia or of the Commonwealth of Puerto Rico.

5. Undelivered mail.---Mail, addressed to any person, which has not been
delivered to the addressee.

6. Certain annuity and pension payments,---Annuity or pension payments under
the Railroad Retirement Act, benefits under the Railroad Unemployment
Insurance Act, special pension payments received by a person whose name has
been entered on the Army, Navy, Air Force, and Coast Guard Medal of Honor roll
(38 U.S.C. 1562), and annuities based on retired or retainer pay under Chapter 73
of Title 10 of United States Codec.

7, Workmen’s Compensation.---Any amount payable with respect to
compensation (including any portion thereof payable with respect to dependants)
under a workmen’s compensation law of the United States, any State, the District
of Columbia, or the Commonwealth of Puerto Rico,

8. Judgments for support of minor children.---If the debtor is required by

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judgment of a court of competent jurisdiction, entered prior to the date of levy, to
contribute to the support of his minor children, so much of his salary, wages, or
other income as is necessary to comply with such judgment.

9. Certain service-connected disability payments,---Any amount payable to an
individual as a service-connected (within the meaning of section 101(16) of Title
38, United States Code) disability benefit under --(A) subchapter II, I, IV, V, or
VI of Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32, 34, 35, 37, or
39 of such Title 38.

10. Assistance under Job Training Partnership Act.--Any amount payable to a
participant under the Job Training Partnership Act (29 U.S.C. 1501 et seq.) from
funds appropriated pursuant to such Act.

11. Minimum exemptions for wages, salary and other income.---The exemptions
under 26 U.S.C. § 6334(a)(9) do not apply in criminal cases, The exceptions
under the Consumer Credit Protection Act, 15 U.S.C.§ 1673, for disposable
earnings, automatically apply and do not need to be claimed. The aggregate
disposable carning of an individual for any workweek which is subjected to
garnishment may not exceed (1) 25 % of his disposable carnings for that weck, or
(2) the amount by which his disposable earnings for that weck exceed thirty times
the Federal minimum hourly wage in effect at the time the earnings are payable,
whichever is less.

The statements made tn this claim of exemptions as to exemption entitlement and

fair market value of the property designated are made and declared under penalty of perjury that
they are true and correct,

Date:

 

Signature of Defendant/Claimant

 

PRINTED NAME

ATTACH THIS FORM TO YOUR REQUEST FOR HEARING.

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Case 2:05-mc-72400-PJD ECF No. 1, PagelD.15 Filed 06/17/05 Page 15 of 20

ORIGINAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, CASE NO.
-VS-
HON, PATRICK J, DUGGAN

SANDRA MARIE ANDERSON,

JUDGE : Duggan Patrick J.
Defendant DECK : Miscellaneous Deck

DATE : 06/17/2005 @ 12:22:01

CASE NUMBER : 2:05CV72400
= GARN USA VS SAANDRA MARIE

ET AL (LE)
WILLIAM ANDERSON, MICHAEL BEALE, ANDERSON

HANDLON, EASTMAN, DEWITT & BEALE, PC.,
JOHN CARRAS, and CARRAS LAW OFFICE, PLLC,
Garnishces,/

CERTIFICATE OF SERVICE
The undersigned hereby certifies that he/she served copies as follows:

lL. Documents served: Application for Writ, Clerk’s Notice of Garnishment,
Writ of Garnishment, including Request for Hearing
forms, Claim for Exemptions

2. Served upon: SANDRA MARIE ANDERSON
C/o John Carras, Esq., Carras Law Office, PLLC
1605 Ashman Street, Midland, MI 48640

3, Method of service: First class mail
4, Date of service:
Que (7, 2005

I certify under penalties of perjury that the foregoing is truce and correct.

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Case 2:05-mc-72400-PJD ECF No. 1, PagelD.16 Filed 06/17/05 Page 16 of 20

ORIGINAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, CASE NO.
-VS-
HON. PATRICK J. DUGGAN

SANDRA MARIE ANDERSON,
JUDGE : Duggan, Patrick J.
Defendant, DECK : Miscellaneous Deck
DATE : 06/17/2005 @ 12:22:01
and CASE NUMBER : 2:05CV72400

GARN USA VS SAANDRA MARIE

ANDERSON ET AL (LE)
WILLIAM ANDERSON, MICHAEL BEALE,

HANDLON, EASTMAN, DEWITT & BEALE, PC ., “4

 

 

AAS NOY
JOHN CARRAS, and CARRAS LAW OFFICE, PLLC, xe 3 my
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Garnishces./ Oo ~
e OR
CERTIFICATE OF SERVICE
The undersigned hereby certifies that he/she served copies as follows:
lL. Documents served: Application for Writ, Writ of Garnishment, Answer of Garnishcc
2, Served upon:
WILLIAM ANDERSON,
C/o Michael Beale, Esq. 240 W. Main Street,
Suite 1100, Courthouse Square,
Midland, MI 48640
3. Method of service: First class mail

4, Date of service: Seta £7, 2005S

I certify under penalties of perjury that the foregoing is true and correct.

Executed on: ©, ~ {7- OS” eee Omvupsace)

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Case 2:05-mc-72400-PJD ECF No. 1, PagelD.17 Filed 06/17/05 Page 17 of 20

ORIGINAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff, CASE NO.
~ HON. PATRICK J. DUGGAN
SANDRA MARIE ANDERSON,

JUDGE : Duggan, Patrick J.
Defendant, DECK : Miscellaneous Deck
DATE : 06/17/2005 @ 12:22:01

CASE NUMBER : 2:05CV72400
ns GARN USA VS SAANDRA MARIE

ANDERSON ET AL (LE)
WILLIAM ANDERSON, MICHAEL BEALE,
HANDLON, EASTMAN, DEWITT & BEALE, PC .,
JOHN CARRAS, and CARRAS LAW OFFICE, PLLC,
Garnishees./

CERTIFICATE OF SERVICE
The undersigned hereby certifies that he/she served copies as follows:
1. Documents served: Application for Writ, Writ of Garnishment, Answer of Garnishee

2. Served upon:
JOHN CARRAS, ESQ,
Carras Law Office, PLLC
1605 Ashman Street
Midland, MI 48640

3. Method of service: First class mail

4, Date of service: Noreen {7 QOOS
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I certify under penaltics of perjury that the foregoing is true and correct.

ving Cet: O6-ITOS) CG Crease)

 
 

 

 

Case 2:05-mc-72400-PJD ECF No. 1, PagelD.18 Filed 06/17/05 Page 18 of 20

ORIGINAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, CASE NO.
-VS-

HON. PATRICK J. DUGGAN

SANDRA MARIE ANDERSON,

JUDGE : Duggan, Patrick J.
Defendant, DECK : Miscellaneous Deck
' DATE : 06/17/2005 @ 12:22:01
d CASE NUMBER : 2:05CV72400
“ GARN USA VS SAANDRA MARIE

ANDERSON ET AL (LE)
WILLIAM ANDERSON, MICHAEL BEALE,
HANDLON, EASTMAN, DEWITT & BEALE, PC .,
JOHN CARRAS, and CARRAS LAW OFFICE, PLLC,
Gamnishees./

CERTIFICATE OF SERVICE
The undersigned hereby certifics that he/she served copics as follows:
1. Documents served: Application for Writ, Writ of Gamishment, Answer of Garnishec
2. Served upon:
HANDLON, EASTMAN, DEWITT & BEALE, PC
240 W. Main Strect,

Suite 1100, Courthouse Square,
Midland, MI 48640

3. Method of service: First class mail

4, Date of service: joe / 7, AOOSS

I certify under penaltics of perjury that the foregoing is truce and correct.

rear t pected): 06-17-05 Pe Coypeaud

 
 

 

Case 2:05-mc-72400-PJD ECF No. 1, PagelD.19 Filed 06/17/05 Page 19 of 20

ORIGINAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, CASE NO.
-VS-
HON. PATRICK J. DUGGAN

SANDRA MARIE ANDERSON,

JUDGE : Du
> Yuggan, Patri
Defendant, pack : Miscellaneous « “i
: 06/17/2005 @ 12:29:01

CASE NUMBER : :
and GARN Usa ve i 2:05cv72400

ANDERSON ET Ay, (LE) MARIE

 

WILLIAM ANDERSON, MICHAEL BEALE,

HANDLON, EASTMAN, DEWITT & BEALE, PC,,

JOHN CARRAS, and CARRAS LAW OFFICE, PLLC,
Garnishees,/

CERTIFICATE OF SERVICE
The undersigned hereby certifies that he/she served copics as follows:
1. Documents served: Application for Writ, Writ of Garnishment, Answer of Garnishce

2. Served upon:
MICHAEL BEALE, ESQ.
240 W. Main Strect,
Suite 1100, Courthouse Square,
Midland, MI 48640

3, Method of service: First class mail

ee
4, Date of service: Nye 12, o00D

I certify under penalties of perjury that the foregoing is true and correct.

dpreritidl: 06-17-05 Me Doras

 
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff, CASE NO.

-VS- .
HON. PATRICK J. DUGGAN

SANDRA MARIE ANDERSON,
JUDGE : Duqgan, Patrick J.
DECK : Miscellaneous Deck
Defendant, DATE : 06/17/2005 @ 12:22:01
CASE NUMBER : 2:05cCV72400
and GARN USA VS SAANDRA MARIE

ANDERSON ET AL (LE)
WILLIAM ANDERSON, MICHAEL BEALE, .
HANDLON, EASTMAN, DEWITT & BEALE, PC ., S
JOHN CARRAS, and CARRAS LAW OFFICE, PLLC,
Garnishees./
CERTIFICATE OF SERVICE
The undersigned hereby certifies that he/she served copies as follows:

1. Documents served: Application for Writ, Writ of Garnishment, Answer of Garnishee
2. Served upon:

CARRAS LAW OFFICE, PLLC

1605 Ashman Street

Midland, MI 48640

~ 3, Method of service: First class mail

4, Date of service: yi | 1, ROO

I certify under penalties of perjury that the foregoing is true and correct.

Executedon: O(p- 17-05 ee Cescpisi

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